The David Epstein Law Firm

 

 

 

 

 

 

 

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4 DAVID G. EPSTEIN (SBN 84356)
depsteinilaw@icloud.com
2 THE DAVID EPSTEIN LAW FIRM
PO Box 4858
3 Laguna Beach, CA 92652-4858
4 (949) 715-1500 Fax (949) 715-2570
5
6 || Attorneys for Plaintiff
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8
9 UNITED STATES DISTRICT COURT
10 CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
11
12 || JOHN D. THOMAS, ) |}Case No.
13 ) |Assigned for all purposes to:
Plaintiff, )
14 vs. ) |NOTICE OF MOTION AND MOTION
) |FOR LEAVE TO SERVE DEFENDANT
7 LEAGLE, INC., a former Arkansas ) |BY ALTERNATE MEANS;
16 |||corporation; and DOES 1-25, ) {MEMORANDUM OF POINTS AND
) AUTHORITIES
"7 Defendants. )
18 )
) Date: April 17, 2023
19 ) Time: 8:30 am
20 ) Courtroom: 10A
24 )
) Case filed: February 7, 2023
99 ) Trial date not set
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Motion re Service

 

 

 
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1 To the honorable court:
2
3 Please take notice that on April 17, at 8:30 am or as soon thereafter as counsel
4 || may be heard, in Courtroom 10A located at 401 W. 4t St., Santa Ana, CA, plaintiff will
5 || move for an order authorizing service upon defendant Leagle, Inc. by electronic
6 || communication on its website.
7 This motion is based upon this notice, the within memorandum of points and
8 || authorities, the separately filed Declaration of David G. Epstein, all the files and records
9 in this case, and such other and further matters as may be presented to the court. A
10 || proposed order has been uploaded to the court.
11
42 Respectfully submitted,
13 The David Epstein Law Firm
14 JS David G. Epstein
15 || Dated: March 24, 2023
16 David G. Epstein
Attorneys for Plaintiff
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Motion re Service

 

 

 
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MEMORANDUM OF POINTS AND AUTHORITIES

1. Introduction.

This is a motion for leave to serve the summons and complaint by uploading it to
the defendant’s website. This action concerns defamation and false light privacy based
upon internet postings by defendant Leagle, Inc. (“Leagle”). As is set forth in more
detail below, Leagle has taken steps to hide its identify and location.

Attempted personal service failed because the former agent for service of process
has withdrawn. Leagle has registered its web domain name through a service that
disguises its identify and address information.

The Federal Rules allow for service of an out-of-state entity by any means
permitted in it state of domicile. Arkansas, where Leagle was incorporated, allows for
service by such means as a court may find just. Ninth Circuit precedents permit a court
order for electronic service in appropriate circumstances.

2. Facts.

Defendant Leagle, Inc. (“Leagle”) was an Arkansas corporation. Its status is listed
as “revoked.” Personal service was attempted upon its former agent for service of
process. Investigation of its internet domain name at “Whois,” discloses that its listed
owner is a service, Perfect Privacy, LLC, whose stated purpose is to conceal the identity
of the owner of the domain name.

One individual, Komal Mustafa, is listed with the Arkansas Secretary of State as
connected with the entity. Although investigation has disclosed two individuals with
that name who have Texas addresses, it has been impossible to confirm that either is
likely to be the person listed on the Arkansas website.

The entity’s website itself provides no address, but a “contact” page permits the
uploading of emails, which appears to be the only means for persons strangers to the

entity to contact it.

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Memorandum of Points and Authorities

 

 

 
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3. The Rules and the Law Permit the Court to Allow Service in the
Requested Manner.

Federal Rule of Civil Procedure 4(e) (1) permits service on an individual by
“following state law for service of a summons in an action brought in courts of general
jurisdiction in the state where the district court is located or where service is made. . .”

Rule 4(h) allows service wpon a corporation “in the manner prescribed by Rule
A(e)(1) for serving an individual... “

Arkansas Rule of Civil Procedure 4(i)(4) provides that service may be made as
follows:

Service as Directed by Court Order. On motion without notice and after

a showing by affidavit or other proof as the court may require that,

despite diligent effort, service cannot be made by the methods

authorized by this rule, the court may order service by any method

or combination of methods reasonably calculated to apprise the

defendant of the action...

It follows that if this court concludes that the manner of service proposed in this
motion is reasonably calculated to apprise the defendant of the action, such service is
proper.

Service by electronic means has been approved in the Ninth Circuit as
compatible with due process:

[A] method of service of process must also comport with constitutional

notions of due process. To meet this requirement, the method of service

crafted by the district court must be "reasonably calculated, under all the

circumstances, to apprise interested parties of the pendency of the action

and afford them an opportunity to present their objections.” Mullane ©.

Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314, 70 S.Ct. 652, 94 L.Ed. 865

(1950) (Jackson, J.).

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Memorandum of Points and Authorities

 

 
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Without hesitation, we conclude that each alternative method of service of
process ordered by the district court was constitutionally acceptable. In our
view, each method of service was reasonably calculated, under these
circumstances, to apprise RII of the pendency of the action and afford it an
opportunity to respond.

Rio Properties v. Rio Intern Interlink (9% Cir. 2002) 284 F.3d 1007, 1016-17.

Although this case concerned service upon a foreign corporation outside the
United States under Rules 4(h)(2) and 4(£)(3), rather than 4(h) and 4(e)(1), the holding is
relevant here—that in a proper case, electronic service is consistent with “constitutional
notions of due process.” Such service here is just as consistent with notions of due
process as in Rio Properties.

4. Conclusion.

This defendant has made efforts to conceal its identity and location, but invites
contact through its website in a manner identical to that proposed in this motion.

The Rules and the Arkansas Rules permit the court to authorize service by
appropriate methods. The Ninth Circuit has approved electronic service in a proper case
a consistent with constitutional notions of due process.

Accordingly, plaintiff respectfully requests the court to grant its motion and

authorized service through the “Contact” section of its website.

Respectfully submitted,

The David Epstein Law Firm

Dated: March 24, 2023 sf David G. Epstein

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Memorandum of Points and Authorities

 
